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                             UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN

JESSICA TISCHER, individually and as Personal                      )
Representative for the Spouse and Children of                      )
JACOB TISCHER, decedent,                                           )
                                                                   )
                  Plaintiff,                                       )
                                                                   )
         v.                                                        )   No. 19 CV 166
                                                                   )
UNION PACIFIC RAILROAD COMPANY,                                    )
A Delaware corporation,                                            )
                                                                   )
                  Defendant.                                       )
----------------------------------------------------------------   )
UNION PACIFIC RAILROAD COMPANY,                                    )
                                                                   )
                  Defendant/Third-Party Plaintiff,                 )
                                                                   )
         v.                                                        )
                                                                   )
PROFESIONAL TRANSPORTATION INC.                                    )
                                                                   )
                  Third-Party Defendant.                           )

        MOTION OF MICHAEL B. COHEN TO WITHDRAW AS COUNSEL FOR
                  PROFESSIONAL TRANSPORTATION, INC.

         Michael B. Cohen, counsel for Third-Party Defendant Professional Transportation, Inc.,

moves to withdraw as counsel, and in support thereof states:

         1.       The undersigned filed his appearance on behalf of Third-Party Defendant

Professional Transportation, Inc. (“PTI”) on June 26, 2019. Dkt. No. 21.

         2.       Kyle Jefferson and Ian Fuller have also filed appearances on behalf of PTI. Dkt.

Nos. 20 and 39.

         3.       Undersigned counsel has accepted employment with another law firm, and will no

longer be authorized by PTI to represent its interests in this matter.

         4.       Kyle Jefferson and Ian Fuller will continue to represent PTI in this matter.

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       WHEREFORE, Michael B. Cohen requests that this Court grant him leave to withdraw

his appearance on behalf of Third-Party Defendant Professional Transportation, Inc., and that his

appearance be withdrawn.



                                             Respectfully submitted,



                                             /s/ Michael B. Cohen
                                             Michael B. Cohen

Michael B. Cohen
Ian N. Fuller
Kyle Jefferson
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                                  CERTIFICATE OF SERVICE
       I, Michael B. Cohen, an attorney, certify that I caused to be served a copy of the attached
Motion to Withdraw as Counsel for Professional Transportation, Inc. upon the following
individual(s), by deposit in the U.S. Mail box at 233 South Wacker Drive, Chicago, Illinois
60606, postage prepaid, same-day personal delivery by messenger, FedEx overnight delivery,
facsimile transmitted from (312) 566-0041, or Case Management Electronic Case Filing System
(“CM/ECF”), as indicated below, on March 3, 2020.
                                                 Attorneys for Plaintiff
                                                 Cortney S. Leneave
          CM/ECF                                 Paul Anthony Banker
          Facsimile/___ Pages                    Hunegs, LeNeave & Kvas, P.A.
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Dated: March 3 2020                                  _/s Michael B. Cohen________

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